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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                 Eastern Division

Flava Works Entertainment, Inc., et al.
                                          Plaintiff,
v.                                                     Case No.: 1:24−cv−09725
                                                       Honorable Franklin U. Valderrama
Joel Lewitzky, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 13, 2024:


        MINUTE entry before the Honorable Jeannice W. Appenteng: Plaintiffs' motion
for discovery [26] is granted. Plaintiffs may conduct early discovery under Rule 26(d)(1)
by issuing Rule 45 subpoenas for the limited purpose of discovering the identities of the
John Doe defendants. The 12/17/2024 deadline is stricken. By 1/3/2025, plaintiff shall file
a status report updating the Court on its efforts to identify and serve defendants. Mailed
notice. (kl, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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